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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    UNILOC 2017 LLC and UNILOC USA,
    INC.,
                                                   Civil Action No. 2:18-cv-00493-JRG-RSP
                 Plaintiffs,
                                                   JURY TRIAL DEMANDED
    v.

    GOOGLE LLC,

                 Defendant.


                ORDER GRANTING DEFENDANT GOOGLE LLC’S MOTION
         TO TRANSFER VENUE TO THE NORTHERN DISTRICT OF CALIFORNIA
                            UNDER 28 U.S.C. § 1404

          Pending before the Court is Defendant Google LLC’s Motion to Transfer Venue to the

   Northern District of California Under 28 U.S.C. § 1404. Having considered the Motion and

   Plaintiffs’ Response, the Court hereby GRANTS the Motion.
